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KARISSA VACKER, MARK BOYETT,
BRIAN LARSON, IRON TOWER
PRESS, INC., and VAUGHN HEPPNER,

Vv.

ELEVEN LABS, INC.,

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

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)
)
Plaintiffs, )
) C.A. 1:24-cv-00987 (RGA)
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Defendant.

DECLARATION OF CHARLES ZERNER IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO

DEFENDANT ELEVEN LABS, INC.’S MOTION TO TRANSFER VENUE

I, Charles Zerner, hereby declare under penalty of perjury as follows:

1.

I am an attorney at the law firm of Munck Wilson Mandala LLP, counsel for Plaintiffs
Karissa Vacker, Mark Boyett, Brian Larson, Iron Tower Press, Inc., and Vaughn Heppner
in the above-captioned matter. I make this declaration based on my personal knowledge
and, if called as a witness, I could and would testify competently to the facts set forth
herein.

This declaration is submitted in support of Plaintiffs’ Opposition to Defendant Eleven
Labs, Inc.’s Motion to Transfer Venue, for the purpose of authenticating and introducing
into evidence certain publicly available materials relating to ElevenLabs’ valuation, and
the availability of travel options, as referenced in Plaintiffs’ Opposition.

Wikipedia Entry for ElevenLabs: On January 23, 2025, I visited the Wikipedia entry for
“ElevenLabs,” located at the following URL: _https://en.wikipedia.org/wiki/

ElevenLabs. Attached hereto as Exhibit A is a true and correct copy of the relevant
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webpage that I downloaded and printed on January 22, 2025. The entry states in pertinent
part: “On January 22, 2024, ElevenLabs raised an additional $80 million in Series B
funding raising the total valuation of the company to $1.1 billion. The funding round was
led by Andreessen Horowitz, Friedman, Gross, and Sequoia Capital. Additionally, the
company announced a series of new products, including their Voice Marketplace, AI
Dubbing Studio, and mobile app.”

4, Reuters Article dated January 22, 2024: On January 23, 2025, I also accessed an online
article entitled Voice AI startup ElevenLabs Gains Unicorn Status, published on January
22, 2024, by Reuters, and available at the following URL:
https://www.reuters.com/technology/voice-ai-startup-elevenlabs-gains-unicorn-status-
after-latest-fundraising-source-2024-01-22/. Attached hereto as Exhibit B is a true and
correct copy of the article, which I downloaded and printed on January 22, 2025. The article
states, in relevant part, that ElevenLabs “was valued at $1.1 billion, making it a unicorn —
or billion-dollar startup.”

5. ElevenLabs Blog, Dated January 22, 2024: On January 23, 2025, I visited ElevenLabs’
website, by visiting the following URL: https://elevenlabs.io/blog/series-b. Attached
hereto as Exhibit C is a true and correct copy of the blog article, which I downloaded and
printed on January 23, 2025. In the blog article, ElevenLabs states: “Since its launch,
ElevenLabs technology has improved content accessibility globally across sectors such as
the creator economy, publishing, conversational AI, entertainment, education, and
accessibility, with its adoption by millions leading the company to unicorn status.”
(emphasis added).

6. Warsaw Business Journal Article, Dated October 22, 2024: On January 23, 2025, I visited
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the Warsaw Business Journal website by visiting the following URL:
https://wbj.pl/elevenlabs-moves-past-unicorn-status-to-triple-its-valuation/post/143834.
Attached hereto as Exhibit D is a true and correct copy of the article, titled “ElevenLabs
moves past unicorn status to triple its valuation,” which I downloaded and printed on
January 23, 2025. The article reports that, as of October 2024, “ElevenLabs achieved
unicorn status earlier this year and is now close to tripling its valuation to around $3
billion,” and that the company is “in the process of a Series C round.”

7. Sacra Equity Research Report, Dated November 6, 2024. Finally, on January 23, 2025, I
accessed an equity research report from Sacra, dated November 6, 2024, regarding
ElevenLabs, located at https://sacra.com/c/elevenlabs/. A link to the PDF version of the
report is available at the following link: link: _https://assets.ctfassets.net/
fldf9zr7wrla/SiH4gCSx2AdDihfxd2Sj3/5a44f34d8ac9c002ad946adfce9cef68/elevenlab
s.pdf). Attached hereto as Exhibit E is a true and correct copy of that PDF report, which I
downloaded on January 23, 2025. The report notes that ElevenLabs “most recently closed
an unannounced funding round led by Iconiq and A16Z at a $3.2B valuation.” (Emphasis
added).

8. I have reviewed Exhibits A—E to ensure they accurately represent the content publicly
available on the cited websites as of January 23, 2025, and they have not been altered in
any material way.

9. Based on these sources, ElevenLabs’ valuation was reported at approximately $1.1 billion

as of January 2024, and is now reported to exceed $3 billion as of late 2024.
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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge. Executed on this 23rd day of January, 2025, in Dallas, Texas.

Charles-Theodore Zepter

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